Case 1:22-cv-10016-LAK Document 109-2 Filed 04/13/23 Page 1 of 3




 EXHIBIT B
         Case 1:22-cv-10016-LAK Document 109-2 Filed 04/13/23 Page 2 of 3




                                                                    DIRECT DIAL       212.763.0883
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                                                                                   April 11, 2023


VIA EMAIL

Chad Seigel
Tacopina Seigel & DeOreo LLP
275 Madison Avenue, 35th Floor
New York, New York 10016

                          Re:      Carroll v. Trump, 22 Civ. 10016 (LAK)

Dear Chad:

       We write as a follow up to our meet-and-confer earlier today regarding my letter to Alina
dated April 10, 2023. We maintain our position that funding secured to defray certain of Ms.
Carroll’s expenses and fees is not relevant to any of the issues that the jury will consider at trial.

        Based on our discussion, it appears that you may be operating on a misunderstanding of
the facts. As Ms. Carroll testified at her deposition, she had (and continues to have) a contingency
fee arrangement with her counsel. In September 2020—well after Ms. Carroll filed her state court
complaint in November 2019—counsel for Ms. Carroll secured financial support from a nonprofit
organization that would help offset certain costs and fees in connection with counsel’s work on
Ms. Carroll’s behalf. Ms. Carroll has never met and has never been party to any communications
(written or oral) with anyone associated with that nonprofit or its financial supporters.1

        The resources that Ms. Carroll’s counsel were able to secure obviously have nothing to do
with what happened at Bergdorf Goodman and whether Donald Trump lied about Ms. Carroll
starting in June 2019 when this dispute began. This is consistent both with the position that we
have taken throughout these proceedings and your failure to raise this issue in connection with our
objection to your discovery request. See, e.g., Plaintiff’s Response No. 14 to Defendant’s Requests
for Production (objecting to request for documents concerning “funds…which have


1
  We note that Donald Trump made many misstatements at his own deposition on October 19, 2022, concerning issues
that (unlike this one) are in fact relevant to the jury determination in this case, such as with whom Mr. Trump spoke
about Ms. Carroll’s allegations, yet we would not contend that they are bases to reopen discovery now. Compare
Deposition of Donald J. Trump, taken October 19, 2022 in Carroll v. Trump, No. 20 Civ. 7311 (S.D.N.Y.) (“Carroll
I”), at 99:23–103:5 with Defendant Donald J. Trump’s Supplemental Responses to Plaintiff’s First Set of
Interrogatories, Carroll I (Aug. 23, 2022).
        Case 1:22-cv-10016-LAK Document 109-2 Filed 04/13/23 Page 3 of 3


                                                                                                  2

been…provided…in connection with this Action or in connection with … consultations with any
legal counsel”).

        For these reasons, we cannot agree to this effort to adjourn the trial by reopening discovery
on this irrelevant point. Nevertheless, in an effort at compromise in order to put this issue behind
us, we would be willing to disclose the identity of the funder and agree not to object on relevance
grounds to questions you might ask Ms. Carroll on cross-examination regarding her personal
knowledge of the funding that her counsel secured. Please let us know whether we should schedule
an additional meet-and-confer to discuss our proposal. In the event that you decide to ask the Court
for any relief on this issue, we would request that you include this letter in any submission that
you file.


                                                                     Very truly yours,




                                                                     Roberta A. Kaplan

cc:    Counsel of Record
